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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LUZ MARIA LUEVANOS,

             Plaintiff,

v.                                                  No. CV 20-993 RB/CG

WORLD WIDE TECHNOLOGY, LLC, AND
BG STAFFING, INC.,

             Defendants.

             ORDER SETTING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court after conferring with counsel about a mutually

convenient date and time. IT IS HEREBY ORDERED that a status conference will be

held by telephone on Tuesday, January 26, 2021, at 1:30 p.m. The parties shall call

Judge Garza’s AT&T Teleconference line at (877) 810-9415, follow the prompts, and

enter the Access Code 7467959, to be connected to the proceedings.

     IT IS SO ORDERED.

                                 ________________________________
                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
